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                                          1   Christopher M. Curran (pro hac vice)
                                              ccurran@whitecase.com
                                          2
                                              George L. Paul (pro hac vice)
                                          3   gpaul@whitecase.com
                                              Lucius B. Lau (pro hac vice)
                                          4
                                              alau@whitecase.com
                                          5   White & Case LLP
                                              701 Thirteenth Street, N.W.
                                          6
                                              Washington, DC 20005
                                          7   Telephone: (202) 626-3600
                                              Facsimile: (202) 639-9355
                                          8
                                          9   Counsel to Defendants Toshiba Corporation,
                                              Toshiba America, Inc., Toshiba America
                                         10
                                              Information Systems, Inc., Toshiba America
                                         11   Consumer Products, L.L.C., and Toshiba America
                                              Electronic Components, Inc.
                                         12
             701 Thirteenth Street, NW
              Washington, DC 20005
White & Case LLP




                                         13                          UNITED STATES DISTRICT COURT
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                         14
                                                                       (SAN FRANCISCO DIVISION)
                                         15
                                         16
                                              IN RE: CATHODE RAY TUBE (CRT)                         Case No. 07-5944 SC
                                         17   ANTITRUST LITIGATION                                    MDL No. 1917
                                         18
                                         19   This Document Relates to:
                                         20                                                    THE TOSHIBA DEFENDANTS’
                                              Case No. C 11-6397 SC
                                                                                               NOTICE OF MOTION AND
                                         21
                                                                                               MOTION TO COMPEL
                                              COSTCO WHOLESALE CORPORATION,
                                         22                                                    ARBITRATION
                                         23                               Plaintiff,
                                                                                               ORAL ARGUMENT
                                         24                                                    REQUESTED
                                         25               v.                                   Date:   October 24, 2012
                                         26                                                    Time: 11:00 a.m.
                                              HITACHI, LTD., et al.,                           Before: Hon. Charles A.
                                         27
                                                                                                       Legge, U.S. District
                                                                          Defendants.                  Judge (Ret.), Special Master
                                         28



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                                          1                          NOTICE OF MOTION AND MOTION
                                          2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                          3       PLEASE TAKE NOTICE that on October 24, 2012, at 11:00 a.m., or as soon
                                          4   thereafter as the matter may be heard before the Honorable Charles A. Legge, U.S. District
                                          5   Court Judge (Ret.), Special Master, in the San Francisco Resolution Center of JAMS, Two
                                          6   Embarcadero Center, Suite 1500, San Francisco, California, 94111, Defendants Toshiba
                                          7   Corporation, Toshiba America, Inc., Toshiba America Information Systems, Inc., Toshiba
                                          8   America Consumer Products, L.L.C., and Toshiba America Electronic Components, Inc.
                                          9   (the “Toshiba Defendants”) will and hereby do move the Court pursuant to Chapter 1 of
                                         10   the Federal Arbitration Act (“FAA”), 9 U.S.C. § 3, and Rule 12(b)(6) of the Federal Rules
                                         11   of Civil Procedure, for an order compelling arbitration of all of Costco Wholesale
                                         12   Corporation’s (“Costco”) claims, and dismissing this action in its entirety as to the Toshiba
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                                         13   Defendants.    Costco must be compelled to arbitrate its claims against the Toshiba
                                         14   Defendants because Costco has entered into a valid, written arbitration agreement that
                                         15   broadly covers all claims “arising out of or relating to” the claims asserted.          That
                                         16   agreement was entered into directly between Costco and the Toshiba Defendants, their
                                         17   affiliates, alleged co-conspirators, and customers. Costco asserts that the non-signatory
                                         18   Toshiba Defendants were agents of the signatory or damaged Costco because of the
                                         19   contract and, thus, that all Toshiba Defendants are jointly and severally liable as to the
                                         20   contract “from any source.”       Because all of Costco’s claims against the Toshiba
                                         21   Defendants are subject to arbitration, the Court should grant this motion, dismiss this
                                         22   action as it pertains to the Toshiba Defendants, and direct Costco to proceed with
                                         23   arbitration.
                                         24       This motion is based upon this Notice of Motion, the accompanying Memorandum of
                                         25   Points and Authorities, and accompanying exhibits, argument of counsel, and such other
                                         26   matters as the Court may consider.
                                         27
                                         28


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                                          1                     MEMORANDUM OF POINTS AND AUTHORITIES
                                          2   I.      STATEMENT OF THE ISSUE
                                          3         Whether the broad arbitration agreement drafted by Costco, which imposes
                                          4   arbitration of all claims “arising out of or relating to” Costco’s relationships with its CRT
                                          5   product vendors, covers Costco’s federal and state-law conspiracy claims against the
                                          6   Toshiba Defendants, thus requiring dismissal of this action as to the Toshiba Defendants
                                          7   and an order directing Costco to arbitrate its claims.
                                          8   II.     INTRODUCTION
                                          9         Costco’s complaint asserts federal and state-law claims based upon allegations of a
                                         10   CRT price-fixing conspiracy among Defendants Toshiba Corporation, Toshiba America,
                                         11   Inc., Toshiba America Information Systems, Inc., Toshiba America Consumer Products,
                                         12   L.L.C., and Toshiba America Electronic Components, Inc. (collectively the “Toshiba
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                                         13   Defendants”) and their alleged co-conspirators. Costco alleges that “[e]ach Defendant
                                         14   acted as the principal, agent or joint venturer of, or for other Defendants,” that each
                                         15   member of each Defendant’s corporate family “engaged in conspiratorial meetings on
                                         16   behalf of every company in that family,” and that “all entities within the corporate families
                                         17   were active, knowing participants” in the alleged conspiracy. Compl. ¶¶ 55-57. Costco’s
                                         18   claims, however, are subject to the broad arbitration agreement that Costco imposes on all
                                         19   of its suppliers, including the Toshiba Defendants. On August 2, 1995, Costco executed a
                                         20   Vendor Agreement with TACP, Inc. (the “Vendor Agreement”). Declaration of Lucius B.
                                         21   Lau in Support of the Toshiba Defendants’ Motion to Compel Arbitration, dated August
                                         22   24, 2012 (“Lau Decl.”) Ex. A. By its own language, this agreement requires arbitration of
                                         23   any and all claims arising out of or relating to any agreement between Costco and the
                                         24   Toshiba Defendants. Pursuant to the Federal Arbitration Act, the Court should enforce this
                                         25   arbitration agreement by dismissing this action as it pertains to the Toshiba Defendants.
                                         26
                                         27
                                         28

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                                          1       III.     FACTUAL BACKGROUND
                                          2                A.    Procedural History
                                          3              On November 14, 2011, Costco filed its Complaint and Jury Demand in the United
                                          4       States District Court for the Western District of Washington against the Toshiba
                                          5       Defendants and others. Complaint and Jury Demand, Costco Wholesale Corp. v. Hitachi,
                                          6       Ltd., et al, No. 2:11-cv-01909-RSM (W.D. Wash. Nov. 14, 2011), ECF No. 1. The action
                                          7       was transferred to the MDL on December 20, 2011. Clerk’s Notice, In re: Cathode Ray
                                          8       Tube (CRT) Antitrust Litig., No. 07-5944 SC (N.D. Cal. Dec. 20, 2011), ECF No. 1016.
                                          9       As previously described in the Defendants’ Joint Notice of Motion and Motion to Dismiss
                                         10       and for Judgment on the Pleadings as to Certain Direct Action Plaintiffs’ Claims (In re:
                                         11       Cathode Ray Tube (CRT) Antitrust Litig., No. 07-5944 SC, at 17-18, 26, 28, 30 (N.D. Cal.
                                         12       Aug. 17, 2012), ECF No. 1317), the Complaint does not specify from whom, when, or
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                                         13       where Costco bought “CRT Products,” a term within which Costco lumps together CDTs,
                                         14       products containing CDTs, CPTs, and products containing CPTs. 1 Compl. ¶ 2. Costco is
                                         15       clear, however, that it seeks recovery from the Toshiba Defendants for any and all
                                         16       purchases of “CRT Products” by Costco “from any source.” Compl. ¶ 9.
                                         17                The Vendor Agreement governs the purchases upon which Costco asserts its
                                         18       claims against the Toshiba Defendants and adopts the dispute resolution procedures found
                                         19       in Costco’s “Standard Terms” by reference. Lau Decl. Ex. A at A, E. The Standard Terms
                                         20       contain a broad arbitration clause governing all aspects of Costco’s purchases of CRTs and
                                         21       CRT finished products from the Toshiba Defendants.                  Accordingly, Costco’s claims
                                         22       against the Toshiba Defendants are subject to arbitration and this Court must dismiss
                                         23       Costco’s claims against the Toshiba Defendants. 2
                                         24
                                         25
                                         26
                                              1
                                         27     Costco defines “CDT Products” as “CDTs of all sizes and the products containing them,” and “CPT
                                              Products” as “CPTs of all sizes and the products containing them.” Compl. ¶ 2.
                                         28   2
                                               Defendants reserve all rights to amend this motion if Costco comes forward with additional agreements with
                                              different dispute resolution terms and conditions.
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                                          1          B.     Costco Alleges A Single Conspiracy That Damaged Costco As
                                                            To Its Purchases “From Any Source”
                                          2
                                                      Costco alleges that that the Toshiba Defendants and other CRT and CRT finished
                                          3
                                              product manufacturers “conducted a conspiracy extending at a minimum from March 1,
                                          4
                                              1995, through November 25, 2007” to “rais[e] or maintain[] prices and [to] reduc[e]
                                          5
                                              capacity and output” for cathode ray tubes (“CRTs”).” Compl. ¶ 1. Costco alleges that it
                                          6
                                              purchased CRT Products at a price over what it would have paid absent the alleged
                                          7
                                              conspiracy. See Compl. ¶¶ 3, 180, 183, 187, 191, 198, 202. Costco does not further
                                          8
                                              specify what it purchased or from whom.             According to Costco, these details are
                                          9
                                              immaterial because the Toshiba Defendants are liable to Costco based upon Costco’s
                                         10
                                              purchases “for CRT Products from any source.” Compl. ¶ 9.
                                         11
                                                      Costco alleges that “[e]ach Defendant acted as the principal, agent or joint-venturer
                                         12
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                                              of, or for, other Defendants”; that each member of each Defendant’s corporate family
                                         13
                                              “engaged in conspiratorial meetings on behalf of every company in that family”; and that
                                         14
                                              “all entities within the corporate families were active knowing participants in the alleged
                                         15
                                              conspiracy. Compl. ¶¶ 55-57. Based upon these allegations, Costco brings claims under
                                         16
                                              Section 1 of the Sherman Act, 15 U.S.C. § 1, the California Cartwright Act, Cal. Bus. &
                                         17
                                              Prof. Code § 16700 et seq., the Washington Consumer Protection Act, Wash. Rev. Code
                                         18
                                              § 19.86.030, the Arizona Antitrust Act, Ariz. Rev. Stat. § 44-1401 et seq., the Florida
                                         19
                                              Deceptive and Unfair Trade Practices Act, Florida Stat. § 501.201 et seq., and the Illinois
                                         20
                                              Antitrust Act, 740 Illinois Code 10/1 et seq.
                                         21
                                                     C.     Costco’s Vendor Agreement Requires Arbitration Of All
                                         22                 Claims “Arising Under or Related To” Costco’s Purchases
                                         23           On the face of the Vendor Agreement, it is clear that the document was drafted by
                                         24   Costco to be used with its vendors. See Lau Decl. Ex. A at 1-2 ((1) document is entitled
                                         25   “Vendor Agreement (Basic)”; (2) includes Costco’s name and fill-in-the-blanks for each
                                         26   “Vendor;” (3) handwritten “Toshib” at the top to indicate that that this particular standard
                                         27   contract refers to vendor Toshiba; (4) bottom right corner has a Costco form number
                                         28

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                                          1       “Form A.4,” including a revision date; and (5) signature block has a place for Costco and
                                          2       “Vendor.”). The Vendor Agreement governs the entire relationship between Costco and
                                          3       each supplier.    See id. at A.    In the Vendor Agreement, Costco imposed arbitration
                                          4       provisions upon TACP, Inc., requiring disputes to be resolved under the arbitration
                                          5       provisions found in Costco’s Standard Terms.           Id.    The Vendor Agreement also
                                          6       incorporates the Standard Terms by reference. Id. at A. Costco also insisted that the
                                          7       Vendor Agreement take priority over any inconsistent terms in other agreements between
                                          8       the parties. Id. at B.
                                          9               The incorporated Standard Terms in turn require arbitration of any and all disputes
                                         10       arising out of or relating to Costco’s purchase of CRTs and other products:
                                         11            20. DISPUTES AND ARBITRATION. All claims and disputes that (1) are
                                                       between Vendor and PriceCostco and (2) arise out of or relate to these
                                         12
                                                       Standard Terms or any agreement between Vendor and PriceCostco 3 or to
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                                         13            their performance or breach (including any tort or statutory claim) (“Arbitrable
                                                       Claims”), shall be arbitrated under the Commercial Arbitration Rules of the
                                         14
                                                       American Arbitration Association (“AAA”), in English at Seattle,
                                         15            Washington, before any one neutral arbitrator who may be a national of any
                                                       party and who shall be a member of the AAA’s Large Complex Case Panel.
                                         16
                                                  Lau Decl. Ex. A at Standard Terms ¶ 20.
                                         17
                                         18               In this action, Costco brings claims based upon purchases from TACP, Inc., the
                                         19       predecessor of Defendant TACP, with whom Costco entered into the Vendor Agreement.
                                         20       Lau Decl. Ex. A. The Toshiba Defendants make no concession that they are liable for the
                                         21       sales of their unnamed and alleged affiliates and reserve all rights to contest that liability
                                         22       before the arbitrator or before this Court. Such liability is a question of fact for the
                                         23       arbitrator to decide. See St. Paul Marine & Fire Ins. Co. v. Courtney Enters., Inc.,
                                         24       270 F.3d 621, 624 (8th Cir. 2001) (“[T]he court may not rule on the merits of any claim the
                                         25       parties have agreed to arbitrate.”).
                                         26
                                         27   3
                                               The Vendor Agreement defines “PriceCostco” to include both The Price Company and Costco Wholesale
                                              Corporation. Lau Decl. Ex. A. According to Costco’s website, The Price Company is a predecessor of
                                         28   Costco Wholesale. See http://phx.corporate-ir.net/External.File?item=UGFyZW50SUQ9ODc2OTJ8Q2hpbG
                                              RJRD0tMXxUeXBlPTM=&t=1 accessible through Costco.com.
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                                          1   IV.    ARGUMENT
                                          2           The Federal Arbitration Act (the “FAA”) establishes the “liberal federal policy
                                          3   favoring arbitration.” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1,
                                          4   24 (1983); see also In re TFT-LCD (Flat Panel) Antitrust Litig., Nos. M 07-1827 SI, C 09-
                                          5   5609 SI, 2011 WL 2650689, at *2 (N.D. Cal. July 6, 2011) (“[T]he FAA espouses a
                                          6   general policy favoring arbitration agreements.”). As such, agreements to arbitrate are to
                                          7   be rigorously enforced. See Moses H. Cone Mem’l Hosp., 460 U.S. at 24-25 (“[A]s a
                                          8   matter of federal law, any doubts regarding the scope of arbitrable issues should be
                                          9   resolved in favor of arbitration . . . .”). The American Arbitration Association’s Rules, as
                                         10   incorporated by Costco in the Vendor Agreement (at Standard Terms ¶ 20), underscore
                                         11   that the arbitrator can decide any questions of arbitrability: “The arbitrator shall have the
                                         12   power to rule on his or her own jurisdiction, including any objections with respect to the
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                                         13   existence, scope or validity of the arbitration agreement.” AAA Commercial Arbitration
                                         14   R. & Mediation P. R-7(a).
                                         15           When considering a motion to compel arbitration, the Court’s role is limited to
                                         16   determining whether:      (1) the contract containing the arbitration clause evinces a
                                         17   transaction involving interstate commerce; (2) a valid agreement to arbitrate exists; and (3)
                                         18   whether the dispute is encompassed within the scope of that agreement. See Simula, Inc. v.
                                         19   Autoliv, Inc., 175 F.3d 716, 719-20 (9th Cir. 1999) (when considering a motion to compel
                                         20   arbitration, “the district court can determine only whether a written arbitration agreement
                                         21   exists, and if it does, enforce it in accordance with its terms”) (emphasis added); Rep. of
                                         22   Nicaragua v. Standard Fruit Co., 937 F.2d 469, 475-78 (9th Cir. 1991); see also 9 U.S.C.
                                         23   § 4; Convention on the Recognition and Enforcement of Foreign Arbitral Awards (the
                                         24   “New York Convention”), 9 U.S.C. § 206.          In addition to the FAA, the New York
                                         25   Convention applies to this motion to compel because Toshiba Corporation is a foreign
                                         26   company. See Balen v. Holland Am. Line Inc., 583 F.3d 647, 654-55 (9th Cir. 2009)
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                                          1   (holding that one factor that courts consider in determining whether to enforce an
                                          2   arbitration agreement under the New York Convention is whether a party to the agreement
                                          3   is a foreign citizen or the commercial relationship at issue “has some reasonable relation
                                          4   with one or more foreign states.”).      Where there is a valid, enforceable arbitration
                                          5   agreement, the Court must compel arbitration. See 9 U.S.C. § 4 (“[T]he court shall make
                                          6   an order directing the parties to proceed in arbitration in accordance with the terms of the
                                          7   agreement”); In re TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-1827 SI, 2011
                                          8   WL 2650689, at *2 (N.D. Cal. July 6, 2011) (“Federal courts are required to rigorously
                                          9   enforce an agreement to arbitrate.”); Estrella v. Freedom Fin., No. C 09-03156 SI,
                                         10   2011 WL 2633643, at *2 (N.D. Cal. July 5, 2011) (“Upon a showing that a party has failed
                                         11   to comply with a valid arbitration agreement, the district court must issue an order
                                         12   compelling arbitration.”).
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                                         13          A.     Costco’s Vendor Agreement Involves Interstate Commerce
                                         14           The FAA applies wherever an arbitration agreement is a “written provision in . . . a
                                         15   contract evidencing a transaction involving commerce.” 9 U.S.C. § 2. That commerce
                                         16   must involve interstate or foreign commerce. Id. § 1. The commerce at issue here is
                                         17   interstate because Costco, a Washington-based company, entered into contracts with the
                                         18   Toshiba Defendants, all non-Washington companies, for the provision of CRTs and
                                         19   finished products containing CRTs to Costco in Washington and allegedly in other states,
                                         20   including California. Indeed, Costco admits that its claims against the Toshiba Defendants
                                         21   involve interstate commerce. See Compl. ¶ 61 (alleging that the events giving rise to the
                                         22   Plaintiffs’ claims “affected interstate commerce”).
                                         23          B.     Costco’s Agreement To Arbitrate Is Valid
                                         24           Costco itself drafted the Vendor Agreement and the Standard Terms containing the
                                         25   arbitration clause. Because no “grounds exist at law or in equity for the revocation” of any
                                         26   of the Vendor Agreement, the FAA applies and Costco should be required to arbitrate.
                                         27   See, e.g., 9 U.S.C. § 2; AT&T Mobility LLC v. Concepcion, 131 S. Ct. 1740, 1746 (2011)
                                         28

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                                          1   (explaining that only generally applicable defenses to contract formation, such as fraud,
                                          2   duress, or unconscionability, would warrant revocation of an arbitration agreement).
                                          3          C.     All Of Costco’s Claims As To The Toshiba Defendants Relate
                                                            To The Vendor Agreement
                                          4
                                                      Costco drafted its Standard Terms with broad language providing that any and all
                                          5
                                              claims and disputes that “arise out of or relate to” agreements between Costco and its
                                          6
                                              vendors must be arbitrated. Lau Declaration Ex. A at 4. The Ninth Circuit has recognized
                                          7
                                              that an agreement to arbitrate claims “arising out of or relating to” is a broad arbitration
                                          8
                                              clause. See Mediterranean Enters., Inc., v. Ssangyong Corp., 708 F.2d 1458, 1464 (9th
                                          9
                                              Cir. 1983) (noting that the language “‘arising out of or relating to this agreement’ had been
                                         10
                                              labeled a ‘broad arbitration clause’” by other courts) (internal quotations omitted). It is
                                         11
                                              well-established that antitrust claims are claims “arising under” purchase contracts. See
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                                              Mitsubishi Motors Corp. v. Soler Chrysler Plymouth, Inc., 473 U.S. 614, 632, 640 (1985)
                                         13
                                              (holding that the plaintiffs’ antitrust claims arising under a sales agreement between the
                                         14
                                              parties were arbitrable); JLM Indus. v. Stolt-Nielsen SA, 387 F.3d 163, 181 (2d Cir. 2004)
                                         15
                                              (holding that the plaintiffs’ antitrust claims arising under a form charter agreement were
                                         16
                                              subject to arbitration). Here, Costco additionally subjects to arbitration all claims that not
                                         17
                                              only “arise out of” but also “relate to” its Vendor Agreement. Lau Decl. Ex. A at
                                         18
                                              Standard Terms ¶ 20. In addition, Costco alleges that it suffered damages as a result of its
                                         19
                                              purchases of CRTs and finished products containing CRTs, which are governed by the
                                         20
                                              Vendor Agreement. Compl. ¶¶ 3, 180, 183, 187, 191, 198, 202. By definition, those
                                         21
                                              purchases arise out of and relate to the Vendor Agreement. Because Costco’s federal and
                                         22
                                              state-law claims not only arise out of but “relate to” the Vendor Agreement, those claims
                                         23
                                              are arbitrable. Accord Mediterranean Enters., 708 F.2d at 1464
                                         24
                                                     D.     Costco’s Arbitration Clause Covers Federal And State-Law
                                         25
                                                            Claims
                                         26           The Vendor Agreement’s broad arbitration provision applies to Costco’s alleged
                                         27   federal and state-law claims. The Supreme Court has determined that Sherman Act claims
                                         28   are arbitrable.   See Mitsubishi Motors Corp., 473 U.S. at 618-19, 624 (holding that

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                                          1   plaintiffs’ Sherman Act claims were subject to arbitration under the FAA); see also JLM,
                                          2   387 F.3d at 175 (rejecting plaintiffs’ argument that an arbitral panel would be incapable of
                                          3   resolving its Sherman Act claims). Relying upon this precedent, this Court has already
                                          4   recognized that Sherman Act claims are arbitrable under the same arbitration provision, as
                                          5   well as arbitration provisions more narrow than in the Vendor Agreement. See In re TFT-
                                          6   LCD (Flat Panel) Antitrust Litig., No. M 07-1827 SI, 2011 WL 4017961, at *7 (N.D. Cal.
                                          7   Sept. 9, 2011) (holding that Costco’s claims based upon the Vendor Agreement for the
                                          8   purchases of LCD products were subject to arbitration); In re TFT-LCD (Flat Panel)
                                          9   Antitrust Litig., 2011 WL 2650689, at *3, *5) (holding that claims were subject to
                                         10   arbitration when the arbitration clause at issue was drafted to apply to “[a]ll disputes
                                         11   arising in connection with this Agreement”). Thus, Costco’s Sherman Act claims in this
                                         12   case are similarly arbitrable.
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                                         13           It is also well-established that state-law antitrust claims are arbitrable whether
                                         14   brought pendant to Sherman Act claims or on their own. See, e.g., Simula, Inc., 175 F.3d
                                         15   at 719, 726 (holding arbitration was appropriate to adjudicate alleged violations of a mix of
                                         16   federal and state antitrust, trade secret, trademark, and defamation laws). In fact, several of
                                         17   the state-law claims brought by Costco have been found to be arbitrable. See, e.g., Mendez
                                         18   v. Palm Harbor Homes, Inc., 45 P.3d 594, 599 (Wash. Ct. App. 2002) (“In Washington it
                                         19   is well settled that [Consumer Protection Act] and other statutory claims are subject to
                                         20   arbitration under the FAA.”); Crown Homes, Inc. v. Landes, 22 Cal. App. 4th 1273, 1280
                                         21   (Cal. Ct. App. 1994) (“[T]here is nothing in the arbitration statutes or the Cartwright Act
                                         22   which indicates that an antitrust claim is not arbitrable.”); Aztec Med. Servs., Inc. v.
                                         23   Burger, 792 So.2d 617, 622 (Fla. Dist. Ct. App. 2001). There is no reason to believe that
                                         24   Costco’s Illinois or Arizona law claims are not arbitrable, as both states favor the
                                         25   enforcement of arbitration agreements. See D.E. Wright Elec., Inc. v. Henry Ross Const.
                                         26   Co., Inc., 538 N.E.2d 1182, 1187 (Ill. App. Ct. 1989) (“Arbitration is a favored method of
                                         27   resolving disputes in Illinois . . . .”); U.S. Insulation, Inc. v. Hilro Const. Co., Inc., 705
                                         28   P.2d 490, 498 (Ariz. Ct. App. 1985).

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                                          1        E.       Costco’s Claims Against The Toshiba Defendants Must Be Arbitrated
                                          2             Costco must arbitrate its claims against the Toshiba Defendants. A plaintiff is
                                          3   estopped from refusing to arbitrate with a corporate family member alleged to be liable for
                                          4   overcharges incurred on an affiliate’s contract. See Fujian Pac. Elec. Co., Ltd v. Bechtel
                                          5   Power Corp., No. C 04-3126 MHP, 2004 WL 2645974, at *6 (N.D. Cal. Nov. 19, 2004)
                                          6   (stating that “[w]hen the charges against a parent company and its subsidiary are based
                                          7   upon the same facts and are inherently inseparable, a court may refer claims against the
                                          8   parent to arbitration even though the parent is not formally a party to the arbitration
                                          9   agreement”) (quoting J.J. Ryan & Sons, Inc. v. Rhose Poulenc Textile, S.A., 863 F.2d 315,
                                         10   321-22 (4th Cir. 1988)); JLM, 387 F.3d at 177-78 (holding that plaintiffs could not avoid
                                         11   arbitration with affiliate of signatory after having treated the signatory and its affiliate as a
                                         12   single unit in its complaint). Although this principle alone would be enough for the
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                                         13   Toshiba Defendants to require Costco to abide by its own arbitration terms, Costco also
                                         14   alleges that all members of corporate families were “active, knowing participants” in the
                                         15   alleged conspiracy and treats all corporate family members as a single entity. Compl.
                                         16   ¶¶ 57, 135. Because Costco alleges that all members of the Toshiba Defendants’ corporate
                                         17   family are liable for their affiliates’ alleged actions, Costco must arbitrate with all of the
                                         18   named Toshiba Defendants even though the Vendor Agreement was executed by a
                                         19   predecessor of only one Defendant, TACP.
                                         20             “[A]n obligation to arbitrate does not attach only to those who actually signed the
                                         21   agreement to arbitrate.” Amisil, 662 F. Supp. 2d at 830; JLM, 387 F.3d at 177 (“under
                                         22   principles of estoppel, a non-signatory to an arbitration agreement may compel a signatory
                                         23   to that agreement to arbitrate”). A signatory to an agreement to arbitrate, like Costco, can
                                         24   be compelled to arbitrate claims where it has been alleged that the non-signatory parties are
                                         25   agents or that their liability is otherwise intertwined with the agreement to arbitrate. See
                                         26   Mundi v. Union Security Life Ins. Co., 555 F.3d 1042, 1046 (9th Cir. 2009) (“a signatory
                                         27   may be required to arbitrate a claim brought by a non-signatory because of the close
                                         28   relationship between the entities involved, as well as the relationship of the alleged wrongs


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                                          1   to the non-signatory’s obligations and duties in the contract and the fact that the claims
                                          2   were intertwined with the underlying contractual obligations.”) (internal quotations
                                          3   omitted); Fujian Pac. Elec. Co. Ltd., 2004 WL 2645974, at *6 (“A signatory to an
                                          4   agreement cannot . . . have it both ways: it cannot on the one hand, seek to hold the non-
                                          5   signatory liable pursuant to the duties imposed by the agreement, which contains an
                                          6   arbitration provision, but on the other hand, deny the arbitration provision’s applicability
                                          7   because the defendant is a non-signatory.”); Hawkins v. KPMG, LLP, 423 F. Supp. 2d
                                          8   1038, 1050-52 (N.D. Cal. 2006) (“[T]o allow the claims against the [non-signatory
                                          9   defendants] to proceed in federal court would cause the arbitration proceedings between
                                         10   the two signatories to be rendered meaningless.”) (internal quotations omitted) (quoting
                                         11   MS Dealer Serv. Corp. v. Franklin, 177 F.3d 942, 947 (11th Cir. 1999) (internal quotations
                                         12   omitted)); Hansen v. KPMG, LLP, No. CV 04-10525-GLT (MANx), 2005 WL 6051705, at
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                                         13   *3 (C.D. Cal. Mar. 29, 2005) (compelling a plaintiff signatory to arbitration where
                                         14   “[p]laintiff’s allegations plead interdependent and concerted misconduct” by a signatory
                                         15   and non-signatory defendants). Because Costco has already agreed to arbitrate all claims
                                         16   related to its purchasing contract with TACP, Inc., the only issue for the Court to decide is
                                         17   whether Costco’s claims relate to its alleged purchases of CRTs and finished products
                                         18   containing CRTs from the Toshiba Defendants.
                                         19           Here, Costco alleges that interdependent and concerted conduct by all Defendants,
                                         20   acting as one, caused injury to Costco for its purchases under the Vendor Agreement. It
                                         21   alleges that all Defendants participated in a single conspiracy. Compl. ¶ 1. It alleges that
                                         22   each Defendant was an agent of the other for purposes of carrying out this conspiracy.
                                         23   Compl. ¶ 48. It alleges that each Defendant has joint and several liability for all CRT
                                         24   product sales, including sales made by the Toshiba Defendants or from any other source
                                         25   under the Vendor Agreement. See Compl. ¶ 185. Costco further alleges joint and several
                                         26   liability for sales by co-conspirators under any CRT Vendor Agreement. See Compl.
                                         27   ¶¶ 185, 189, 193, 197, 201, 208. Finally, Costco alleges that each Defendant is liable for
                                         28   every sale made to Costco under the CRT Vendor Agreement entered by customers of

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                                          1   Defendants. See Compl. ¶ 3. Allegations such as these establish that Costco’s claims
                                          2   against the Toshiba Defendants are based upon purchases from: (1) the Toshiba
                                          3   Defendants; (2) Defendant TACP’s predecessor, TACP, Inc.; (3) co-conspirators; and (4)
                                          4   customers of the Toshiba Defendants pursuant to the Vendor Agreement. As such, all of
                                          5   Costco’s claims relate to and are intertwined with those contracts. See Amisil, 622 F.
                                          6   Supp. 2d at 831-32 (stating that where an arbitration clause includes claims “relating to”
                                          7   the contract, non-signatory defendants may enforce it); MS Dealer Serv. Corp., 177 F.3d at
                                          8   948 (“[A]llegations of such pre-arranged, collusive behavior establish that [signatory’s]
                                          9   claims against [non-signatory] are intimately founded and intertwined with the obligations
                                         10   imposed by the [contract containing the arbitration clause].”).
                                         11           Finally, requiring Costco to arbitrate all of its claims is consistent with the notions
                                         12   of fair play and equity, as “[h]aving elected to tar [Defendants who did not directly sign
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                                         13   agreements to arbitrate] with the very broad brush they apply to other defendants” a
                                         14   plaintiff must arbitrate with all Defendants to which they applied this very broad brush.
                                         15   Carroll v. LeBouef, Lamb, Greene & Macrae, LLP, 374 F. Supp. 2d 375, 378 (S.D.N.Y.
                                         16   2005). This is particularly true where a “[p]laintiff describes the non-signatory Defendants
                                         17   as one team involved in a single course of misconduct and seeks to hold them jointly liable
                                         18   for each other’s conduct,” as Costco does here. Hansen, 2005 WL 6051705, at *3. In
                                         19   Hansen, the court held that pleadings alleging “interdependent and concerted misconduct”
                                         20   were sufficient for the non-signatory defendants to compel the signatory plaintiff to
                                         21   arbitration. Id. at *3. Moreover, the court indicated that it was unlikely that the pleadings
                                         22   could be amended to alter this result, since “Plaintiffs’ underlying theory is an inter-
                                         23   related, cooperative course of misconduct.” Id.
                                         24           Just as in Hansen, Costco’s interdependent claims must be arbitrated. To hold
                                         25   otherwise would render the arbitration proceedings with the signatories meaningless. See
                                         26   J.J. Ryan & Sons, Inc., 863 F.2d at 321 (holding that forcing a non-signatory parent of a
                                         27   signatory subsidiary to try a case, rather than arbitrate, based upon the same facts, would
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                                          1   render arbitration proceedings “meaningless and the federal policy in favor of arbitration
                                          2   would effectively [be] thwarted”).
                                          3          F.      Because Costco’s Alleged Claims Are Subject To Costco’s
                                                             Broad Arbitration Clause, The Court Should Dismiss The
                                          4
                                                             Proceedings Against The Toshiba Defendants
                                          5
                                                      Costco’s claims against the Toshiba Defendants should be dismissed pursuant to
                                          6   Rule 12(b)(6) of the Federal Rules of Civil Procedure because they are covered by the
                                          7   Vendor Agreement’s arbitration clause. “The Ninth Circuit has held that where, as here,
                                          8   all the claims at issue are subject to arbitration, dismissal is the appropriate remedy.”
                                          9   Valley Power Sys., Inc. v. Gen. Elec. Co., No. CV 11-10726 CAS, 2012 WL 665977, at *6
                                         10   (C.D. Cal. Feb. 27, 2012) (citing Thinket Ink Info. Res., Inc. v. Sun Microsystems, Inc.,
                                         11   368 F.3d 1053, 1060 (9th Cir. 2004) (affirming district court’s dismissal of the plaintiffs’
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                                              claims that were subject to arbitration), and Chappel v. Lab Corp. of Am., 232 F.3d 719,
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                                              725 (9th Cir. 2000) (holding that plaintiffs’ claims were properly dismissed under
                                         14   Rule 12(b)(6) because they were subject to a valid and enforceable arbitration clause)); see
                                         15   also Sparling v. Hoffman Const. Co., Inc., 864 F.2d 635, 638 (9th Cir. 1988) (holding that
                                         16   9 U.S.C. § 3 does not preclude courts from dismissing all claims when they are barred by
                                         17   an arbitration clause).
                                         18           District courts in the Ninth Circuit routinely dismiss all claims — rather than issue
                                         19   a stay — when a plaintiff’s claims are subject to arbitration. See, e.g., Valley Power Sys.,
                                         20   Inc., 2012 WL 665977, at *6 (holding that a dismissal of plaintiff’s claims, rather than a
                                         21   stay, was the appropriate remedy because all of the claims in the dispute were subject to
                                         22   arbitration); Lewis v. UBS Financial Servs., Inc., 818 F. Supp. 2d 1161, 1169 (N.D. Cal.
                                         23   2011) (dismissing the plaintiff’s claims that the court deemed subject to arbitration); KKE
                                         24   Architects, Inc. v. Diamond Ridge Dev. LLC, No. CV 07-06866 MMM, 2008 WL 637603,
                                         25   at *5 (C.D. Cal. Mar. 3, 2008) (“The Ninth Circuit has held that [9 U.S.C.] § 3 does not
                                         26   impose a mandatory duty to stay on district courts. Thus, even where a party seeks a stay
                                         27   under § 3, the court has discretion to dismiss under Rule 12(b)(6) if it finds that all of the
                                         28   claims before it are arbitrable.”). Because Costco’s claims against the Toshiba Defendants

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                                          1   are subject to a valid arbitration agreement, dismissal of this case is the appropriate
                                          2   remedy.
                                          3          G.     Counsel For The Toshiba Defendants Has Attempted To
                                                            Resolve This Issue Without Filing A Motion To Compel
                                          4
                                                      On May 31, 2012, counsel for the Toshiba Defendants wrote a letter to counsel for
                                          5
                                              Costco, requesting that Costco dismiss this action with respect to the Toshiba Defendants
                                          6
                                              and abide by its agreement to arbitrate all of the claims it believed it has against the
                                          7
                                              Toshiba Defendants. On June 27, 2012, counsel for Costco responded with his own letter.
                                          8
                                              Since that time, counsel for the Toshiba Defendants has spoken with counsel for Costco
                                          9
                                              twice via telephone regarding this issue. These efforts have proven unsuccessful. For their
                                         10
                                              part, the Toshiba Defendants believe this action should be dismissed, not stayed. The
                                         11
                                              Toshiba Defendants further believe that the Vendor Agreement (which was drafted by
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                                              Costco) should be enforced according to its existing terms and should not be modified by
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                                              this Court.
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                                          1                                        CONCLUSION
                                          2           For these reasons, the Court should dismiss all claims against the Toshiba
                                          3   Defendants and direct Costco to arbitrate its claims against the Toshiba Defendants.
                                          4
                                          5
                                                                                               Respectfully submitted,
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                                          7
                                              Dated: August 24, 2012
                                          8
                                          9                                               By: /s/ Lucius B. Lau
                                         10                                                  Christopher M. Curran (pro hac vice)
                                                                                             ccurran@whitecase.com
                                         11                                                  George L. Paul (pro hac vice)
                                         12                                                  gpaul@whitecase.com
             701 Thirteenth Street, NW




                                                                                             Lucius B. Lau (pro hac vice)
              Washington, DC 20005
White & Case LLP




                                         13                                                  alau@whitecase.com
                                         14                                                  701 Thirteenth Street, N.W.
                                                                                             Washington, DC 20005
                                         15                                                  tel.: (202) 626-3600
                                         16                                                  fax: (202) 639-9355

                                         17                                                    Counsel to Defendants Toshiba
                                         18                                                    Corporation, Toshiba America, Inc.,
                                                                                               Toshiba America Information Systems,
                                         19                                                    Inc., Toshiba America Consumer
                                         20                                                    Products, L.L.C., and Toshiba America
                                                                                               Electronic Components, Inc.
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                                          1                               CERTIFICATE OF SERVICE
                                          2        On August 24, 2012, I caused a copy of “THE TOSHIBA DEFENDANTS’ NOTICE
                                          3   OF MOTION AND MOTION TO COMPEL ARBITRATION” to be electronically filed
                                          4   via the Court’s Electronic Case Filing System, which constitutes service in this action
                                          5   pursuant to the Court’s order of September 29, 2008.
                                          6
                                          7
                                          8                                                    /s/ Lucius B. Lau
                                                                                                  Lucius B. Lau
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